203 F.3d 462 (7th Cir. 2000)
    PATRICIA P., on her own behalf and  as parent of Jacob P.,    Plaintiff-Appellant,v.BOARD OF EDUCATION OF OAK PARK and  RIVER FOREST HIGH SCHOOL DISTRICT  NO. 200 and THE ILLINOIS STATE BOARD  OF EDUCATION,    Defendants-Appellees.
    No. 98-3012
    In the  United States Court of Appeals  For the Seventh Circuit
    Argued May 18, 1999Decided January 31, 2000
    
      Appeal from the United States District Court  for the Northern District of Illinois, Eastern Division.  No. 97 C 5225--Milton I. Shadur, Judge. [Copyrighted Material Omitted]
      Before COFFEY, KANNE and DIANE P. WOOD, Circuit  Judges.
      COFFEY, Circuit Judge.
    
    
      1
      Plaintiff-Appellant  Patricia P. ("Patricia"), on behalf of her son  Jacob P. ("Jacob"), sued the Board of Education  of Oak Park and River Forest High School District  No. 200 ("School District") and the Illinois  State Board of Education ("State Board") under  the Individuals with Disabilities Education Act  ("IDEA"), 20 U.S.C. sec. 1400, et seq. (1996),1  seeking reimbursement for the cost of Jacob's  private schooling at the Elan School in Maine  ("Elan"). Plaintiff appeals the district court's  granting of summary judgment in favor of  Defendants and denial of her FederalRule of  Civil Procedure 59 and 60 motions. We AFFIRM.
    
    I.  BACKGROUND
    
      2
      Patricia's suit arises from events that began  the summer before Jacob was scheduled to enter  Oak Park and River Forest High School ("District  High School") as a freshman during the 1994-95  school year. Due to Jacob's history of emotional  and behavior problems, at the end of his eighth  grade year, his elementary school and the School  District jointly conducted a two-day evaluation  and held a multi-disciplinary conference to  develop an individualized education program  ("IEP") for his freshman year at the District  High School. Both the elementary school and the  School District recommended that Jacob be placed  in a behavior disorder resource program with 30  minutes per week of social work services.  Patricia disagreed with the recommendation and  believed that the proposed placement would be  insufficient to address Jacob's special needs.  Consequently, Patricia enrolled him in a private  parochial school that had no formal special  education behavior disorder program: Fenwick High  School ("Fenwick"). Jacob spent the 1994-95  school year at Fenwick, during which he did not  receive any special services from the School  District. Patricia did not seek reimbursement for  her unilateral placement of Jacob at Fenwick.  Before the end of the school year, however,  Fenwick school officials informed Patricia that  Jacob would not be allowed to return the  following school year due to his behavior  problems.
    
    
      3
      On June 2, 1995, Patricia enrolled Jacob in the  District High School for the 1995-96 school year.  Sometime between June 2 and June 15, however,  Patricia applied to have Jacob attend Elan, a  State Board approved residential special  education school in Poland Spring, Maine. On July  17, 1995, Patricia placed Jacob at Elan where he  remained for the duration of his high school  education.
    
    
      4
      In an effort to obtain reimbursement for the  cost of Jacob's placement at Elan, on July 25,  1995, Patricia requested a Level I due process  hearing to obtain a determination that Elan was  an appropriate educational placement for Jacob.  On October 12, 1995, the School District moved to  dismiss Patricia's request, which was granted two  months later on December 12, 1995 when Level I  Hearing Officer Bonnie Simon ("Simon") ruled that  Patricia saw fit to effectuate a unilateral  transfer of Jacob which thus deprived the School  District of an opportunity to conduct its own  case study evaluation.
    
    
      5
      Patricia did not appeal the Level I Simon  decision; instead, Plaintiff requested a second  Level I due process hearing on January 2,  1996.2 Again, the School District moved to  dismiss Patricia's hearing request, but this time  basing its motion on the doctrine of claim  preclusion. Level I Hearing Officer Keith E.  Stearns ("Stearns") rejected the School  District's claim preclusion argument and  conducted a full hearing on the merits of  Plaintiff's claim. However, at the conclusion of  the hearing, Stearns agreed with Level I Hearing  Officer Simon and denied Patricia's request for  reimbursement.
    
    
      6
      Both parties then cross-appealed the Stearns  Level I decision to a Level II hearing officer.  On Level II appeal, Patricia sought to overturn  Stearns' adverse ruling on the merits while the  School District challenged the decision on claim  preclusion grounds. On March 28, 1997, Level II  Hearing Officer Lisa Salkovitz Kohn ("Kohn")  affirmed the Level I Stearns decision not to  reimburse Patricia for the Elan placement on the  merits. Dissatisfied with Level II Hearing  Officer Kohn's decision, Patricia sued the School  District and the State Board for reimbursement  under the IDEA in federal district court.
    
    
      7
      After Plaintiff filed her complaint but before  the State Board filed an answer, the School  District filed a motion for summary judgment. In  response, Patricia requested additional time for  discovery pursuant to Federal Rule of Civil  Procedure 56(f). On June 9, 1998, the district  court granted the School District's motion for  summary judgment, ruling that: (1) the Simon  Level I decision on the merits precluded  Plaintiff from raising a virtually identical IDEA  claim before Level I Hearing Officer Stearns; and  (2) notwithstanding claim preclusion grounds, on  the merits of Patricia's claim for reimbursement,  Defendants did not violate the requirements of  the IDEA. Accordingly, the court dismissed  Patricia's suit with prejudice and her subsequent  Rule 59 and 60 motions. Patricia appealed.
    
    II.  ISSUES
    
      8
      Plaintiff argues on appeal that the district  court erred when it granted summary judgement in  favor of Defendants based on the doctrine of  claim preclusion and the court's finding on the  merits that the School District did not violate  the IDEA. Patricia also claims that the district  court abused its discretion when it granted  summary judgment without allowing her an  opportunity to conduct discovery. Lastly,  Plaintiff asserts that the court erred by  dismissing her claims against the State Board.
    
    III.  DISCUSSION
    
      9
      Although we typically review a district court's  decision to grant summary judgment de novo, the  standard of review for Patricia's challenge  differs from that governing the typical review of  summary judgment. See Lagrange School Dist. v.  Illinois State Bd. of Educ., 184 F.3d 912, 914-15  (7th Cir. 1999). Here, because the district court  did not hear additional evidence beyond what was  in the records at the Level I and II stages,  "[t]he motion for summary judgment is simply the  procedural vehicle for asking the judge to decide  the case on the basis of the administrative  record." Heather S. v. State of Wisc., 125 F.3d  1045, 1052 (7th Cir. 1997) (citation omitted).  Accordingly, despite being termed summary  judgment, the district court's decision is based  on the preponderance of the evidence. See 20  U.S.C. sec. 1415(e)(2) (1996);3 Hunger v.  Leininger, 15 F.3d 664, 669 (7th Cir. 1994).  Indeed,
    
    
      10
      a district court must independently determine  whether the requirements of the Act have been  satisfied. In developing this standard, Congress  specifically rejected language which would have  made state administrative findings conclusive if  supported by substantial evidence. However,  because courts do not have special expertise in  the area of educational policy, they must give  'due weight' to the results of the administrative  decisions and should not substitute 'their own  notions of sound educational policy for those of  the school authorities which they review."
    
    
      11
      Board of Educ. of Murphysboro v. Illinois Bd. of  Educ., 41 F.3d 1162, 1166 (7th Cir. 1994)  (citations omitted) (emphasis added); see Morton  Community Unit Sch. Dist. v. J.M., 152 F.3d 583,  587-88 (7th Cir. 1998) ("[C]ourts (the district  court and then this court, using the same  standard) should give due deference to the  hearing officers' judgments."); Heather S., 125  F.3d at 1052-53. Thus, on appeal, Patricia bears the burden of proof as the party challenging the  outcome of the state administrative hearings, see  Board of Educ. of Murphysboro, 41 F.3d at 1167,  and "in the absence of a mistake of law, we may  only reverse the district court if its findings  were clearly erroneous." Lagrange, 184 F.3d at  915.
    
    
      12
      The purpose of the IDEA is "to ensure that  children with disabilities receive an education  that is both appropriate and free." Florence  County Sch. Dist. Four v. Carter, 510 U.S. 7, 13  (1993) (citing School Comm. of Burlington v.  Department of Educ. of Mass., 471 U.S. 359, 373  (1985)). A free appropriate public education  ("FAPE") is one "specially designed to meet the  unique needs of the handicapped child, supported  by such services as are necessary to permit the  child 'to benefit' from the instruction." See  Board of Educ. v. Rowley, 458 U.S. 176, 188-89  (1982).
    
    
      13
      The IDEA also provides federal funds intended  to "assist State and local efforts to provide  programs to meet the educational needs of  children with disabilities in order to assure  equal protection of the law." 20 U.S.C. sec.  1400(b)(9) (1996). The Act requires a state to  determine what is uniquely "appropriate" for each  child's education by preparing an IEP developed  through the joint participation of the local  education agency, the teacher, and the parents.  20 U.S.C. sec.sec. 1401(a)(18)-(20), 1412(4),  1414(a)(5) (1996).
    
    
      14
      Section 1415 of the IDEA provides for a hearing  process
    
    
      15
      to challenge the adequacy of the IEP when  informal procedures have failed. After a  complaint is brought to initiate such a formal  hearing, an impartial Level I hearing is  conducted by a local administrative officer. The  Level I decision then may be appealed to a Level  II hearing before another administrative officer  appointed by the state department of education.  Following the final administrative determination,  the party aggrieved by the decision of the state  educational agency has the right to challenge the  decision through a civil action brought in either  state or federal court.
    
    
      16
      Dell v. Board of Educ., Twp. High Sch. Dist. 113,  32 F.3d 1053, 1055-56 (7th Cir. 1994) (citing 20  U.S.C. sec. 1415(e)(2)). Should a parent  unilaterally place their child in a private  placement in response to a school district's  failure to comply with the requirements of the  IDEA, he or she is entitled to be reimbursed for  the cost of the placement. See Burlington, 471  U.S. at 369-71.
    
    
      17
      Under the IDEA, a school district must: (1)  follow the procedures set forth in the Act; and  (2) develop an IEP through procedures reasonably  calculated to enable the child to receive  educational benefits. See Murphysboro, 41 F.3d at  1166 (citing Rowley, 458 U.S. at 206-07). "Once  the school district has met these two  requirements, the courts cannot require more; the  purpose of the IDEA is to 'open the door of  public education' to handicapped children, not to  educate a handicapped child to her highest  potential." Murphysboro, 41 F.3d at 1166.
    
    
      18
      The district court found that Patricia's IDEA  claims before Level I Hearing Officer Stearns  were barred by the doctrine of claim preclusion  because they were previously raised and disposed  of by the first Level I Hearing Officer. The  trial judge also conceded that "[t]here is  however the possibility that even though  Patricia's second request for [a] Level I hearing  addressed the identical claim for tuition  reimbursement that had been presented in  Patricia's first Level I hearing, she was then  asserting (at least in part) some matters that  she could not have presented in support of that  request the first time around." Rather than  attempt to "parse the purported distinction  between Patricia's two attacks in those terms,"  the court chose to examine the Level II hearing  decision on the merits. For the same reason, we  now do the same.
    
    
      19
      As previously stated, school authorities may be  obligated "to reimburse parents for their  expenditures on private special education for a  child if the court ultimately determines that  such placement, rather than a proposed IEP, is  proper under the Act." Burlington, 471 U.S. at  369. However, this Circuit has recognized that  reimbursement under the act is subject to the  parties cooperating in the placement process. See  Johnson v. Duneland Sch. Corp., 92 F.3d 554, 558  (7th Cir. 1996) (stating that courts have  reasoned that a school district "cannot be forced  to rely solely on an independent evaluation  conducted at the parents' behest"). Other  circuits have also recognized that a parent's  right to seek reimbursement for a unilateral  placement of their child is available only upon  a finding that, after cooperating with the school  district, there are "sufficiently serious  procedural failures by the school district." Doe  v. Metropolitan Nashville Pub. Schs., 133 F.3d  384, 388 (6th Cir.), cert. denied, 119 S.Ct. 47  (1998); see also Schoenfield v. Parkway Sch.  Dist., 138 F.3d 379, 380-82 (8th Cir. 1998); Ash  v. Lake Oswego Sch. Dist., 980 F.2d 585, 589 (9th  Cir. 1992).
    
    
      20
      The IDEA's preference for a cooperative  placement process also serves a practical  purpose. Without some minimal cooperation, a  school district cannot conduct an evaluation of  a disabled child as is contemplated under the  IDEA. The IDEA requires a school district to  convene a conference with the teacher(s) and the  parent(s) to prepare an IEP that assesses the  level of special services that would be required  in light of the child's disability, and "then  review and, if appropriate, revise, its  provisions periodically, but not less than  annually." 20 U.S.C. sec.sec. 1401(a) (18)-(20),  1412(4), 1414(a)(5) (1996). Further, a school  district is required to reevaluate a child every  three years to assess the progress or regress of  a child's disability. See Johnson, 92 F.3d at  558. Indeed, "[i]f a student's parents want him  to receive special education under the IDEA, they  must allow the school itself to reevaluate the  student and they cannot force the school to rely  solely on an independent evaluation." Andress v.  Cleveland Indep. Sch. Dist., 64 F.3d 176, 178  (5th Cir. 1995). Practically speaking, a school  board needs the cooperation of the parent(s) to  properly evaluate a child and convene a case  conference to thereby determine what level of  services would address the child's disability.  Indeed, in a case with very similar facts to  Plaintiff's case, the Eighth Circuit spoke to the  issue of cooperation:
    
    
      21
      Parkway had no opportunity to provide an  appropriate education for Scott in the public  school as is preferred under IDEA because he  transferred to private school after only one day  in eighth grade without any discussion with  Parkway officials about possible accommodations  to meet his current needs. Reimbursement for  private education costs is appropriate only when  public school placement under an individual  education plan (IEP) violates IDEA because a  child's needs are not met. Since Parkway was  denied an opportunity to formulate a plan to meet  Scott's needs, it cannot be shown that it had an  inadequate plan under IDEA. Reimbursement for the  costs of his private placement would therefore be  inappropriate because school officials were  excluded from the decision and because no showing  of inadequate services under IDEA can be made.
    
    
      22
      Scott's unilateral withdrawal from Parkway meant  there was no opportunity to modify his IEP to  meet his needs for the 1992-1993 school year in  public school as is preferred under IDEA and no  involvement of school officials in the private  placement decision. In these circumstances  reimbursement for the expenses of his private  education is not required even if it were assumed  that private placement was appropriate to meet  Scott's needs.
    
    
      23
      Schoenfeld, 138 F.3d at 382. Accordingly, we hold  that parents who, because of their failure to  cooperate, do not allow a school district a  reasonable opportunity to evaluate their disabled  child, forfeit their claim for reimbursement for  a unilateral private placement. Accord  Schoenfeld, 138 F.3d at 382; Tucker v. Calloway  County Bd. of Educ., 136 F.3d 495, 503-05 (6th  Cir. 1998); Ash, 980 F.2d at 589. This is not to  say that a school district is not also bound by  the IDEA's preference for a cooperative placement  process: this Court will look harshly upon any  party's failure to reasonably cooperate with  another's diligent execution of their rights and  obligations under the IDEA
    
    
      24
      So too here did Level II Hearing Officer Kohn  find that "the Parent was uncooperative with the  School District in June 1995 and by her own  actions deprived the District of a reasonable  opportunity [to evaluate Jacob] from as early as  June 15, 1995." Kohn also ruled that the School  District's failure to examine Jacob was due to  Patricia's failure to cooperate with the School  District. Specifically, Level II Hearing Officer  Kohn found that
    
    
      25
      [Patricia] removed [Jacob] unilaterally from the  state, knowingly frustrating the [School]  District's ability to conduct its own timely  evaluation, and has made no genuine offer to make  [Jacob] available to the [School] District for an  evaluation. . . . [T]he [School] District has  committed no violation by its actions. For this  reason, the issue of reimbursement similarly must  be decided in the [School] District's favor."
    
    
      26
      Indeed, Patricia does not dispute that she  unilaterally removed Jacob from the District High  School and enrolled him at Elan in Maine, on June  15, 1995 and placed him there on July 17, 1995.  She also does not dispute that once Jacob was in  Maine, she did not send Jacob back to the school  district for evaluation. Similarly, Level I  Hearing Officers Simon and Stearns and Level II  Hearing Officer Kohn all found that Patricia's  sole action evidencing a willingness to avail her  son for evaluation for the 1995-96 school year  was her offering to allow School District staff  to travel to Maine to evaluate Jacob at the Elan  School. Thus, Level II Hearing Officer Kohn and  the trial judge found that Patricia's actions  deprived the School District of a reasonable  opportunity to conduct an in-state evaluation of  Jacob and to make an informed educational  placement recommendation for the 1995-96 school  year. Accordingly, we conclude that there is no  clear error in the district court's finding that  Patricia's lack of cooperation deprived the  school district of a reasonable opportunity to  conduct an evaluation of Jacob and fulfill its  obligations under the IDEA because it is  supported by the administrative record and the  factual findings made by the Level I and Level II  hearing officers. Thus, we further conclude that  there was no error in the district court's  conclusion that due to Patricia's lack of  cooperation, she cannot now seek reimbursement  for the Elan placement.4
    
    
      27
      Patricia also claims that the district court  erred by not allowing her an adequate opportunity  to conduct discovery prior to the granting of  summary judgment.5 A district court is  obligated to permit discovery prior to granting  summary judgement if "discovery [was] needed to  permit the opponent of a summaryjudgment motion  to gather sufficient information to raise a  material issue of fact, [and thus] elementary  fairness requires that he have an opportunity to  pursue that discovery." Illinois State Employees  Union v. Lewis, 473 F.2d 561, 565 n.8 (7th Cir.  1972). However, the district court found that  "[n]othing that Patricia could dredge up through  discovery could alter the course that she herself  chose to follow, or the legal consequences  flowing from that choice." In evaluating claims  for reimbursement under the IDEA, a "district  court is not required to allow all evidence  proffered by a plaintiff in an IDEA proceeding."  Monticello Sch. Dist. No 25 v. George L., 102  F.3d 895, 901 (7th Cir. 1996). Indeed, this  Circuit has held that it
    
    
      28
      agrees with the First Circuit's statement that  the determination of whether to allow additional  evidence under sec. 1415(e)(2) "must be left to  the discretion of the trial court which must be  careful not to allow such evidence to change the  character of the hearing from one of review to a  trial de novo." This Court has not spoken with  specificity on the issue of when a district court  must hear testimony at the request of a party in  an IDEA proceeding, but we certainly have not  mandated that a district court do so every time.
    
    
      29
      Monticello, 102 F.3d at 901-02 (citations  omitted).
    
    
      30
      Patricia argues that she required discovery on  information that was "critical" to "the question  presented concern[ing] whether Jacob received [a]  FAPE." Indeed, Patricia did not request discovery  relating to her failure to adequately avail Jacob  for evaluation by the School District. Because  the trial judge found that discovery would be  futile in light of the court's ruling that  Patricia denied the School District with an  opportunity to fulfill its obligations under the  IDEA and provide Jacob with an FAPE, we are of  the opinion that the district court committed no  abuse by granting summary judgment without  allowing additional evidence into the record as  to the substantive aspects of Patricia's IDEA  claims.
    
    IV.  CONCLUSION
    
      31
      We agree with the district court's denial of  Plaintiff's action for reimbursement for a  unilateral placement under the IDEA.6 We  further hold that the trial court did not abuse  its discretion by granting summary judgment in  favor of Defendants without allowing Plaintiff  the opportunity to conduct additional discovery.  Because the district court did not err in  dismissing Plaintiff's IDEA claim for  reimbursement on the merits, Plaintiff's claims  against the State Board were also properly  dismissed.
    
    
      32
      AFFIRMED.
    
    
      
        Notes:
      
      
        1
         Plaintiff filed her complaint in federal court on  July 23, 1997 under the 1996 version of the IDEA.  Although the IDEA was amended on June 4, 1997 by  Pub. L. 105-17, 111 Stat. 37, subchapters I and  II of the Act relating to individualized  education programs remained in effect until July  1, 1998. Accordingly, references to the IDEA in  this opinion relate to the 19 96 version.
      
      
        2
         Patricia claims that State Board officials  instructed her to file another Level I hearing  request rather than appeal the Level I Simon  decision.
      
      
        3
         20 U.S.C. sec. 1415(e)(2) (1996) provides:
        Any party aggrieved by the findings and decision  made under subsection[s] (b) [or] . . . (c) of  this section, shall have the right to bring a  civil action with respect to the complaint  presented pursuant to this section, which action  may be brought in any State court of competent  jurisdiction or in a district court of the United  States without regard to the amount in  controversy. In any action brought under this  paragraph the court shall receive the records of  the administrative proceedings, shall hear  additional evidence at the request of a party,  and, basing its decision on the preponderance of  the evidence, shall grant such relief as the  court determines is appropriate.
      
      
        4
         Patricia also contends that the district court  erred by rejecting or ignoring her statements of fact, which violated the court's duty to read the  record in the light most favorable to the non-  moving party. However, as previously discussed,  we exact a different standard of review for IDEA  summary judgments--absent clear error, we are  bound to affirm the trial judge's factual  determinations. See Lagrange School Dist., 184  F.3d at 915.
        Further, because of our above conclusion  on the merits of Patricia'  IDEA claim, we see no need to address the  district court's ruling on the claim preclusion  issue.
      
      
        5
         In particular, Patricia argues that the district  judge erred by not allowing her to demonstrate  the appropriateness of Jacob's residential  placement at Elan.
      
      
        6
         Because Plaintiff based her Rule 59 and 60  motions on essentially the same reasons she  raised on appeal, we also agree with the district  court's denials of these motions.
      
    
    